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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Prinzo & Associates, LLC
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−03256
                                                          Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 8, 2020:


       MINUTE entry before the Honorable Gary Feinerman:Initial status hearing set for
8/3/2020 at 9:15 a.m. Initial Status Report shall be filed by 7/27/2020. Please see Judge
Feinerman's web page (http://www.ilnd.uscourts.gov) for details on the initial status
hearing and initial Status Report.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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refer to it for additional information.

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web site at www.ilnd.uscourts.gov.
